Case No. 1:12-cv-00330-LTB-MJW             Document 1       filed 02/07/12   USDC Colorado          pg
                                               1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Civil Action No. _______________

 FULGENCIO SANTILLANO-SOTO,

        Plaintiff,

 v.

 JBS USA, LLC,

        Defendant.


                                     NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, and D.C.COLO.LCivR 81.1,

 Defendant JBS USA, LLC (“Defendant”), through its undersigned counsel, hereby removes this

 civil action from the District Court, Weld County, Colorado, to the United States District Court

 for the District of Colorado, and further states as follows:

        1.      Plaintiff filed a Complaint with the District Court, Weld County, Colorado on

 August 15, 2011. This Complaint was not served upon Defendant. Plaintiff filed a First

 Amended Complaint on or around January 18, 2012, for which Defendant accepted service on

 January 18, 2012. Plaintiff filed a Second Amended Complaint on February 1, 2012, which has

 not yet been served upon Defendant. A copy of the Complaint is attached as Exhibit A, a copy of

 the Summons and First Amended Complaint are attached as Exhibit B, and a copy of the Second

 Amended Complaint is attached as Exhibit C.
Case No. 1:12-cv-00330-LTB-MJW             Document 1        filed 02/07/12     USDC Colorado            pg
                                               2 of 4




        2.      This action is currently pending as Case Number 2011CV792 in the District

 Court, Weld County, Colorado, which is in the district of the United States District Court for the

 District of Colorado.

        3.      Defendant has not yet pleaded or answered in the District Court, Weld County,

 Colorado because a responsive pleading is not yet due.

        4.      The attached pleadings are the only pleadings that have been filed in the state

 court, as far as undersigned counsel is aware. Pursuant to D.C.COLO.LCivR 81.1, undersigned

 counsel states that no hearings have been set in the state court, as far as he is aware.

        5.      In his Second Amended Complaint, Plaintiff alleges that Defendant discriminated

 against him in violation of “Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

 2000e-16, and the Civil Rights Act of 1991.” Sec. Am. Compl. ¶ 1.1. These claims arise under

 the laws of the United States of America.

        6.       In addition, Plaintiff asserts a state law employment discrimination claim under

 C.R.S. § 24-34-402. Sec. Am. Compl. ¶¶ 1.5, 5.1. Plaintiff also appears to assert a common law

 claim for negligence. Compl. ¶¶ 1.3, 6.1-6.5.

        7.      This Court has original jurisdiction over this civil action pursuant to 28 U.S.C. §

 1331, and the action may be removed to this Court by Defendant pursuant to 28 U.S.C. § 1441.

 Jurisdiction is present pursuant to 28 U.S.C. § 1331 because Plaintiff’s claims pursuant to “Title

 VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-16, and the Civil Rights Act

 of 1991,” set forth in Plaintiff’s Second Amended Complaint, are founded on claims or rights

 arising under the Constitution, treaties or laws of the United States, and render this action a civil

                                                   2
Case No. 1:12-cv-00330-LTB-MJW             Document 1       filed 02/07/12     USDC Colorado            pg
                                               3 of 4




 action of which the United States District Court has original jurisdiction. Supplemental

 jurisdiction exists over Plaintiff’s non-federal claims pursuant to 28 U.S.C. § 1367 and the entire

 case is therefore subject to removal.

           8.     Defendant has complied with the applicable requirements of 28 U.S.C. § 1446(a)

 and (b).

           9.     Promptly after filing this Notice of Removal, Defendant will give written notice of

 the filing to Plaintiff and will file a copy of the Notice of Removal with the Clerk of the District

 Court, Weld County, Colorado, as required by 28 U.S.C. § 1446(d). A copy of that Notice

 (without exhibits) is attached hereto and marked as Exhibit D.

           10.    In filing this Notice of Removal, Defendant does not waive any defense that may

 be available to it.

           WHEREFORE, Defendant prays that the above-captioned suit pending in the District

 Court, Weld County, Colorado, be removed to this United States District Court for the District of

 Colorado, that this Court proceed with the handling of the case as if it had been originally filed

 herein, and that further proceedings in the District Court, Weld County, Colorado action be

 stayed.

           DATED this 7th day of February, 2012.




                                                   3
Case No. 1:12-cv-00330-LTB-MJW            Document 1        filed 02/07/12     USDC Colorado            pg
                                              4 of 4




                                                       Respectfully submitted,



                                                       s/ W.V. Bernie Siebert
                                                       W. V. Bernie Siebert
                                                       SHERMAN & HOWARD L.L.C.
                                                       633 Seventeenth Street, Suite 3000
                                                       Denver, CO 80202
                                                       Tel: (303) 299-8222
                                                       Fax: (303) 298-0940
                                                       bsiebert@shermanhoward.com


                                                       s/ Sarah R. Peace
                                                       Sarah R. Peace
                                                       SHERMAN & HOWARD L.L.C.
                                                       633 Seventeenth Street, Suite 3000
                                                       Denver, CO 80202
                                                       Tel: (303) 299-8284
                                                       Fax: (303) 298-0940
                                                       speace@shermanhoward.com

                                                       Attorneys for Defendant


                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of February, 2012, I electronically filed the foregoing
 NOTICE OF REMOVAL with the Clerk of the Court using the CM/ECF system, which will
 send notification of such filing to the following:

        Miguel R. Velasco
        4800 Wadsworth Blvd.
        Suite 218
        Wheat Ridge, CO 80033


                                                               s/ Kris Kirkpatrick




                                                   4
